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                                                      January 12, 2022


BY ELECTRONIC CASE FILING

The Honorable Laurel Beeler
United States Magistrate Judge
Northern District of California
Courtroom B, 15th FL
450 Golden Gate Avenue
San Francisco, CA 94102

         Re:        Djeneba Sidibe et al. v. Sutter Health, Case No. 3:12-cv-04854-LB

Dear Judge Beeler:

        Sutter submits this letter in response to plaintiffs’ citation to Judge Seeborg’s order in
Crawford et al. v. Uber Technologies, Inc., 3:17-cv-02664-RS, and Namisnak et al. v. Uber
Technologies, Inc., 3:17-cv-06124-RS. The docket in those cases indicates that the trial there
will be a bench trial, scheduled for 4.5 days, on an injunctive relief claim under the Americans
with Disabilities Act. The docket does not indicate whether either party objected to a remote
trial. For the reasons stated in Sutter’s letter brief, a remote bench trial in those circumstances
does not support a remote jury trial, let alone one of the length and complexity of the trial in this
case.

                                                                   Respectfully submitted,

                                                                   /s/ David C. Kiernan
                                                                   David C. Kiernan




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